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                        UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION


UNITED STATES OF AMERICA,

       Plaintiff,

v.                                                     Case No. 10-20162-3

BARRON DION HILL,

       Defendant.
                                               /

       ORDER GRANTING DEFENDANT’S MOTION TO VACATE SENTENCE

       On April 14, 2011, Defendant Barron Hill was sentenced to 126 months in prison

after pleading guilty to one count of Distribution of Cocaine Base in violation of 21

U.S.C. § 841(a)(1). Hill now moves the court to vacate his sentence pursuant to 28

U.S.C. § 2255 and to grant a resentencing hearing, arguing that his sentence is contrary

to the Fair Sentencing Act of 2010 and Dorsey v. United States, 132 S. Ct. 2321 (2012).

Hill requests a sentence of 102 months imprisonment. The Government agrees that

§ 2255 relief is warranted and recommends a sentence of 121 months in custody.

According,

       IT IS ORDERED that Defendant’s motion to vacate sentence [Dkt. # 98] is

GRANTED. The court will schedule a resentencing hearing for Defendant on

November 14, 2013 at 2:00 p.m.


                                           S/Robert H. Cleland
                                          ROBERT H. CLELAND
                                          UNITED STATES DISTRICT JUDGE

Dated: August 14, 2013
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I hereby certify that a copy of the foregoing document was mailed to counsel of record
on this date, August 14, 2013, by electronic and/or ordinary mail.


                                                                      S/Lisa Wagner
                                                                     Case Manager and Deputy Clerk
                                                                     (313) 234-5522




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